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                     IN THE UNITED STATES DISTRJCT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARIOTTESVILLE DIVISION


   UNITED STATES OF' AMERICA

               v                                        Case No. 3:22-cr-000001

   MARKEL COREVIS MORTON


                                    PLEA AGREEMENT

         I have agreed to enter into a plea agreement with the United States of America,
  pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure. The terms and
  conditions of this agreement are as follows:

  A. CHARGE(S) TO lyHrpH             r AM pLEn*DrNG GprLTy ,ANp WATVF,R OF
     RIGHTS

     1. The Charses,and Potential Punishment

         My attorney has informed me of the nature of the charge(s) and the elements of the
  charge(s) that must be proved by the United States beyond a reasonable doubt before I
  could be found guilty as charged.

         I will enter a plea of guilty to Counts 5 and 6 of the First Superseding Ind,ictment.

         Count 5 charges me with Hobbs Act Robbery, in violation of i8 U.S.C. $ 1951(a).
  The maximum statutory penalty is a fine of $250,000 and/or imprisonment for a term of
  twenfy years, plus a term of supervised release of three years.

          Count 6 charges me with brandishing and possessing a firearm during and in relation
  to a crime of violence, in violation of 18 U.S,C. $ 92a(c), The maximum statutory penalty
  is a fine of $250,000 and/or imprisonment for a term of life, plus a term of supervised
  release of five years. There is a mandatory minimum sentence of imprisonment for a
  term of seven years. I understand each sentence imposed for a violation of 18 U.S.C.



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   $ 92a(c) must be served consecutively to every other sentence imposed,

           I understand restitution may be ordered, my assets may be subject to forfeiture, and
   fees may be imposed to pay for incarceration, supervised release, and costs ofprosecution.
   In addition, a Sl00 special assessment, pursuant to 18 U.S.C. $ 3013, will be imposed per
   felony count of conviction. I further understand my supervised release may be revoked if
   I violate its terms and conditions. I understand a violation ofsupervised release increases
   the possible period of incarceration.

           Iam pleading guilty as described above because I am in fact guilty and because         I
   believe it is in my best interest to do so and not because ofany threats or promises.

      2. Waiver o f Constitutional           hts Up on a Plea of Guiltv

          I acknowledge I have had all ofmy rights explained to me and I expressly recognize
   I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
   waive and give up these valuable constitutional rights:

           a,   The right   to plead not guilty and persist in that plea;
           b. The   dght    to a speedy and public jury trial;
           c. The   right   to assistance ofcounsel at that trial and in any subsequent appeal;
           d.   The right   to remain silent at kial;
                The right   to testifli at trial;
           f.   The right   to confront and cross-examine witnesses called by the government;
                The right   to present evidence and witnesses in my own behalf;
           h.   The right   to compulsory process of the court;
           i.   The right   to compel the attendance of witnesses at trial;
           j    The right   to be presumed innocent;
           k.   The right   to a unanimous guilty verdict; and
           l.   The right   to appeal a guilty verdict.

      3.   Dismissal of Counts

          If I comply with my obligations under the plea agreement, the United States will
  move, at sentencing, that I be dismissed as a defendant in any remaining count(s). I
  stipulate and agree the United States had probable cause to bring al1 the counts in the
  Indictment which are being dismissed under this agreement, these charges were not
  frivolous, vexatious or in bad faith, and I am not a "prevailing party" with regard to these



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   charges. I further waive any claim for attorney's fees and other litigation expenses arising
   out ofthe investigation or prosecution of this matter.

      4.   State Supervised Release Revocation

          I understand that, at the time of this offense, I was on supervised release in
   Commonwealthv. Morton, case nos. 03000104 and 08000390. I understand that, as a result
   of my conviction in this federal case, that the City of Charlottesville Commonwealth
   Attorney's Office could seek revocation ofmy state supervised release and reinstatement
   of previously suspended state sentences.

           If I   comply with my obligations under this plea agreement, the City of
   Charlottesville Commonwealth Attomey's Office agrees that based upon this conviction,       I
   will not have any violation hearings in Charlottesville Circuit Court.

          The Commonwealth Attorney's agreement with this provision is indicated by his
   signature to this plea agreement.

   B. SENTENCINGPROVISIONS

      1.   General Matters

          Pursuant to Fed. R. Crim. P. f 1(c)(1)(C), the United States and I agree I shall
  be sentenced to a period of incarceration within the range of 141 months to 155
  months. The parties agree this is a reasonable sentence considering all of the facts and
  circumstances of this case. I understand the Court must sentence me within this range or
  reject the plea agreement. If, and only if, the Court rejects the plea agreement, I will be
  given an opportunity to withdraw my guilty plea. The United States and I agree all other
  sentencing matters, including, but not limited to, supervised release, fines, and restitution,
  are left to the Court's discretion. Because the parties have stipulated the agreed to sentence
  of imprisonment is reasonable regardless of the guidelines calculations, I waive aay right
  I may have to any future reduction in sentence based on a change in the sentencing
  guidelines.

         I understand I will have an opportunity to review a copy of my presentence report
  in advance of my sentencing hearing and may file objections, as appropriate. I will have
  an opportunity at my sentencing hearing to present evidence, bring witnesses, cross-
  examins any witnesses the govemment calls to testi$r, and argue to the Court what an



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   appropriate sentence should be within the confines of the terms of this agreement.

           I   understand   I will not be eligible for parole during any term of imprisonment
   imposed.

      2.   SentencingGuidelines

        I stipulate and agree that all matters pertaining to any of the counts of the charging
   document(s), including any dismissed counts, are relevant conduct for purposes of
   sentencing.

          I understand that because of my prior criminal record I may be treated as a "Career
   Offender" under Guideline Section 48 1 .1, if the Court determines I have at least two prior
   convictions for felony drug offenses and/or crimes of violence.

          I understand guideline sections may be applicable to my case and the United States
  and I will be free to argue whether these sections should or should not apply to the extent
  the arguments are not inconsistent with the stipulations, recommendations, and terms set
  forth in this plea agreement.

          I agree to accept responsibility for my conduct. If I comply with my obligations
  under this plea agreement and accept responsibiiity for my conduct, the United States will
  recommend the Court grant me a two-level reduction in my offense level, pursuant to
  U.S.S.G. $ 3E1.1(a) and, if applicable, at sentencing, will move that I receive a one-level
  reduction in my offense level, pursuant to U.S.S.G. $ 3E1.1(b), for purposes of any
  guidelines calculation. However, I stipulate that if I fail to accept responsibility for my
  conduct or fail to comply with any provision of this plea agreement, I should not receive
  credit for acceptance of responsibility.

      3. Substantial Assistance
         I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.
  35(b), U.S.S.G. $5K1.1 and 18 U.S.C. $ 3553(e). I understandeven if I fully cooperate
  with law enforcement, the United States is under no obligation to make a motion for the
  reduction of my sentence. I understand if the United States makes a motion for a reduction
  in my sentence, the Court, after hearing the evidence, will determine how much of a
  departure, if any, I should be given. THIS PROVISION IS DESIGNED TO PROTECT
  THE UNITED STATES AND IS INCLUDED IN PLEA AGREEMENTS IN TIIE


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   WESTERN DISTRICT OF VIRGINIA EVEN                             IF A   DEFENDANT      IS   NOT
   COOPERATING.

      4. Monetary.Oblisations
          a.. Fpecial Assqssments. Fines and Restitution

          I  understand persons convicted of crimes are required to pay a mandatory
   assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.
   Clerk's Office, a certified check, money order, or attorney's trust check, made payable to
   the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
   to entering my plea of guilty.

           I agree to pay restitution for the entire scope of my criminal conduct, including, but
   not limited to, all matters included as relevant conduct. In addition, I agree to pay any
   restitution required by law, including, but not limited to, amounts due pursuant to 18 USC
   $$ 2259, 3663, and/or 36634. I understand and agree a requirement I pay restitution for
   all of the above-stated matters will be imposed upon me as part of any final judgment in
   this matter.

          I  further agree to make good faith efforts toward payment of all mandatory
   assessments, restitution and fines, with whatever means I have at my disposal. I agree
   failure to do so will constitute a violation of this agreement. I will execute any documents
   necessary to release the funds I have in any repository, bank, investment, other financial
   institution, or any other location in order to make partial or total payment toward the
   mandatory assessments, restitution and fines imposed in my case.

         I fully understand restitution and forfeiture are separate financial obligations which
  may be imposed upon a crirninal defendant. I further understand there is a process within
  the Department of Justice whereby, in certain circumstances, forfeited funds may be
  applied to restitution obligations. I understand no one has made any promises to me that
  such a process will result in a decrease in my restitution obligations in this case.

         I understand and agree, pursuant to 18 U.S.C. $$ 3613 and 3664(m), whatever
  monetary penalties are imposed by the Court will be (i) due immediately and subject to
  immediate enforcement by the United States as provided for by 18 U.S.C. $ 3613, and (ii)
  submitted to the Treasury Offset Program so that any federal payment or transfer of
  returned property to the defendant may be offset and applied to federal debts but will not



                                  Defendant's Initials:       P,")

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   affect the periodic payment schedule. I further understand ifthe Court imposes a schedule
   of payments, that schedule is only a minimum schedule of payments and not the only
  method, nor a limitation on the methods, availabie to the United States to enforce the
  judgment.

          I agree to grart the United States a wage assignment, liquidate assets, or complete
   any other tasks which will result in immediate payment in fuIl, or payment in tL_e shortest
   time in which fuIl payment can be reasonably made as required under 18 U.S.C. g 3572(d).

          I expressly authorize the United States Attorney's Office to obtain a credit report on
   me in order to evaluate my ability to satisff any financial obligation imposed by the Court.

          I  agree the following provisions, or words of similar effect, should be ir,cluded as
   conditions of probation and/or supervised release: (1) "The defendant shall totify the
   Financial Litigation Unit, United States Attomey's Office, in writing, of any rnterest in
   property obtained, directly or indirectly, including any interest obtained under any other
   name, or entity, including a trust, partnership or corporation after the execution of this
   agreement until a1l fines, restitution, money judgments and monetary assessments are paid
   in full" and (2) "The Defendant shall notify the Financial Litigation Unit, United States
   Attomey's Office, in writing, at least 30 days prior to transferring any interest in property
   owned directly or indirectly by Defendant, including any interest held or owned under any
   other name or entity, including trusts, partnership and/or corporations until all fines,
   restitution, money judgments and monetary assessments are paid in fuIl."

          The parties   will  also jointly recommend that as a condition of prcbation or
  supervised release, Defendant will noti! the Financial Litigation Unit, Uni:ed States
  Attorney's Office, before Defendant transfers any interest in property owned directly or
  indirectly by Defendant, including any interest held or owned under any othe: name or
  entity, including trusts, partnership and/or corporations. See 18 U.S.C. $ 366aft), (n).

         Regardless of whether or not the Court specifically directs participation cr imposes
                               I
  a schedule of payments, agree to ful1y participate in inmate employment under any
  available or recommended programs operated by the Bureau of Prisons.

          I agree any payments made by me shall be applied fully to the non-joint and several
  portion of my outstanding restitution balance until the non-joint and several portion of
  restitution is paid in full, unless the Court determines that to do so would cause a hardship
  to a victim ofthe offense(s).



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          b.   Dutv to Make Fin ancial Disclosures

          I understand in this case there is apossibility substantial fmes and/or restitution may
   be imposed. In order to assist the United States as to any recommendation and in any
   necessary collection ofthose sums, I agree, ifrequested by the United States, to provide a
   complete and truthful financial statement to the United States Attomey,s Office, within 30
   days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
   expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
   dependent children and any corporation, partnership or other entity in which I hold or have
   held an interest, for the period starting on January lst of the year prior to the year my
   offense began and continuing through the date of the statement. This financial statement
   shall be submitted in a form acceptable to the United States Attorney's office.

          From the time of the signing of this agreement or the date I sign the financial
   statement, whichever is earlier, I agree not to convey anything of value to any person
   without the authorization of the United States Attorney's Office.

          c.   Understandins of Collection Matters

          I understand:

          1.   part of the judgment in this case I will be ordered to pay one or more monetary
               as
            obligations;
         2. paymerfi should be made as ordered by the Court;
         3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
            U.S. District Court'' to: 210 Franklin Road, S.W., Suite 540, Roanoke. Virginia
            2401 1; and include my name and court number on the check or mone;r order;
         4. interest (unless waived by the Court) and penaities must be imposed for late or
            missed payments;
         5. the United States may file liens on my real and personal property that will remain
            in place until monetary obligations are paid in fu1l, or until liens expire (the later
            of20 years from date ofsentencing or release from incarceration);
         6. ifI retain counsel to represent me regarding the United States, efforts to collect
            any of my monetary obligations, I will immediately notiff the Uniled States
            Attorney's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
            Virginia 24008-1709, in writing, ofthe fact ofmy legal representatiorr; and
         7. l, or my attorney if an attorney will represent me regarding col,ection of
            monetary obligations, can contact the U.S. Attorney's Office's Financial



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                   Litigation Unit at 5 40 / 857 -2259.

      C. F'ORF'EITURE

             I   agree to the forfeiture   ofthe   assets set forth in this section on the grounds set
                                                                                            forth
      in the Order of Forfeiture. I agree this Order of Forfeiture shall be entered by the Court
      and shall be final at the time I enter my plea. To the extent necessary, I waive notice of
      forfeiture as to any asset I have agreed to forfeit and waive oral pronouncement at
      sentencing.

             The assets to be forfeited are as follows:

                      1   Apple iPhone seized at arrest (Item no. 8)r

             I
             agree to cooperate fully in the forfeiture of the property to be fort'eited. if
  applicable, I agree to withdraw any existing claims and/or agree not to fi1e any claims in
  any administrative or civil forfeiture proceeding relating to assets seized as part of this
  investigation and not otherwise named herein. I agee to execute all documents,
  stipulations, consent judgments, court orders, bills ofsale, deeds, affidavits oftitle, and the
  like, which are reasonably necessary to pass clear title to the united states or otherwise
  effectuate forfeiture of the property. I further agree to fully cooperate and testifz truthfully
  on behalf of the United States in any legal action necessaxy to perfect the uniled states,
  interest, including but not limited to any ancillary hearing in this criminal action or in any
  civil litigation.

          I further agree to assist in identifying, locating, returning, and forfeiting all
  forfeitable assets, including the known assets of other persons.

            I further   agree that the forfeiture provisions of this plea agreement are intended to,
  and  will, survive me, notwithstanding the abatement of any underlying criminal conviction
  after the execution ofthis agreement. The forfeitability of any particular property pusuant
  to this agreement shall be determined as if I had survived, and that determination shall be
  binding upon my heirs, successors and assigns until the agreed forfeiture, including any
  agreed money judgment amount, is collected in full. To the extent that forfeiture pursuant
  to this agreement requires me to disgorge wrongfully obtained criminal proceeds, I agree
  that the forfeiture is primarily remedial in nature.

            I understand and agree that forfeiture of this properfy is proportionate to the degree
                                           n,{"qdnqt,s rn;tiok:        6 Y\
  I
            The item number refers to the Albemarle County Police Department evidence report.



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   and nature of the offense committed by me. I freely and knowingly waive aIl constitutional
   and statutory challenges in any manner (including direct appeal, habeas corpus, or any
   other means) to any forfeiture carried out in accordance with this Plea Agreement on any
   grounds, including that the forfeiture constitutes an excessive fine or punishmenl I further
   understand and agree this forfeiture is separate and distinct from, and is not in the nature
   of, or in lieu of, any penalty that may be imposed by the Court.

          I understand and agree that any monetary sum(s) the United States has agreed to
   release will be less any debt owed to the United States, any agency of the United States, or
   any other debt in which the United States is authorized to collect.

          I hereby release and forever discharge the United States, its officers, agents, servants
  and employees, its heirs, successors, or assigns, from any and a1l actions, causes ofaction,
  suits, proceedings, debts, dues, contracts, judgrnents, damages, claims, and,/or demands
  whatsoever in law or equity which I ever had, now have, or may have in the future in
  connection with the seizure, detention and forfeiture of the described assets.

  D. ADDITIONAL MATTERS

      l.   Waiver of Rieht to Anneal

           Knowing that I have a right of direct appeal of my sentence under 1g U.S.C. $
  3742(a) and the grounds listed therein, I expressly waive the right to appeal m), sentence
  on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
  any and all other issues in this matter and agree I will not file a notice of appeal. I am
  knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
  explicitly and irrevocably directing my attorney not to file a notice of appeal.
  Notwilhstanding any other language to the contraty,I am not waiving my rightto appeal
  or to have my attorney /ile a notice of appeal, as to any issue which cannot be waived, by
  /arv. I understand the United States expressly reserves all of its rights to appeal. I agree
  and understand ifI file any court document (except for an appeal based on an issue
  that cannot tre waived, by law, or a collateral aftack based on ineffective assistance of
  counsel) seeking to disturb, in any way, any order imposed in my case such action
  shall constitute a failure to comply with a provision of this agreement.

      2. Waiver of Rieht    to Collaterallv Attack

           I waive any right I may have to collaterally attack, in any future proceeding, any


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   order issued in this matter, unless such attack is based on ineffective assistance ofcounsel,
   and agree I will not file any document which seeks to disturb any such order, unless such
   filing is based on ineffective assistance of counsel. I agree and understand that ifI file
   arty court document (except for an appeal based on an issue not otherwise waived in
   this agreement; an appeal based on an issue that cannot be waived, by law; or a
   collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
   way, any order imposed in my case, such action shall constitute a failure tD comply
   with a provision of this agreement.

      3. Information    Access Waiver

          I knowingly and voluntarily agree to waive all rights, whether asserted directly or
   by a representative, to request or receive from any department or agency of the United
   States any records pertaining to the investigation or prosecution of this case, including
   without limitation any records that may be sought under the Freedom of Informttion Act,
   5 U.S.C. $552, or the Privacy Act of 1974,5 U.S.C. 9552a.

      4. Waiver of Witness     Fee

          I agree to waive all rights, claims or interest in any witness fee I may be eligible to
   receive pursuant to 28 U.S.C. $ 1821, for my appearance at any Grand Jury, witness
   conference or court proceeding.

      5. Abandonment of Seized Items

           By signing this plea agreement, I hereby abandon my interest in, and consent to the
   official use, destruction or other disposition ofeach item obtained by any law enforcement
   agency during the course of the investigation, unless such item is specifically provided for
   in another provision of this plea agreement. I further waive any and all notice of any
   proceeding to implement the official use, destruction, abandonment, or other disposition of
   such items.

      6. Deportation

          I understand ifl am not a citizen ofthe United States, or ifI am a naturalized citizen,
   pleading guilty may have consequences with respect to my immigration starus including,
   but not limited to, deportation from the United States, denial of United States citizenship,
   denial of admission to the United States in the future, or denaturalization. I expressly



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   recognize under federal 1aw, conviction for a broad range of crimes can lead to adverse
   immigration consequences including, but not limited to, automatic removal from the
   United States, and that no one, including my attomey or the Court, can predict with
   certainty the effect of a conviction on my immigration status. I am not relying on any
   promise or belief about the immigration consequences of pleading guilty. I war-t to plead
   guilty regardless of any potential immigration consequences.

      7. Denial    of Federal Benefits

          At the discretion of the court, I understand I may also be denied any or all federal
   benefits, as that term is defined in 21 U.S.C. $ 862, (a) for up to five years if this is my first
   conviction of a federal or state offense consisting of the distribution of controlled
   substances, or up to one year if this is my first conviction of a federal or stare offense
   involving the possession of a controlled substance; or (b) for up to ten years if this is my
   second conviction ofa federal or state offense consisting of the distribution of controlled
   substances, or up to five years if this is my second or more conviction of a federal or state
   offense involving the possession of a controlled substance. If this is my third or more
   conviction of a federal or state offense consisting of the distribution of controlled
   substances, I understand I could be permanently ineligible for all federal benefits, as that
   term is defined in 21 U.S.C. $ 862(d).

      8. Admissibilitv     of Statements

          I understand if I fail to plead guilty in accordance with this agreement or withdraw
   my   plea(s) of guilty any statements I make (including this plea agreemen! and my
   admission of guilt) during or in preparation for any guilty plea hearing, sentencing hearing,
   or other hearing and any statements I make or have made to law enforcement agents, in
   any setting (including during a proffer), may be used against me in this or any other
   proceeding. I knowingly waive any right I may have under the Constitution, any statute,
   rule or other source of law to have such statements, or evidence derived frorn such
   statements, suppressed or excluded from being admitted into evidence and stipulate that
   such statements can be admitted into evidence. If I withdraw my guilty plea based solely
   on the Court's rejection of the plea agreement, the provisions of this paragrapr will not
   apply.

      9. Additional     Oblieations

            I agree not to commit any of the following acts:



                                   Defendant's   Initiaf:         fY'l   fi
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              .   attempt to withdraw my guilty plea, unless the Court rejects the plea
                  agreement;
              .   den] I committed any crime to which I have pled guilty;
              o   make or adopt any arguments or objections to the presentence report that are
                  inconsistent with this plea agreement;
              o   obstruct justice;
              r   fail to comply with any provision of this plea agreement;
              .   commit any other crime;
              .   make a false statement; or
              o   fail to enter my plea of guilty when scheduled to do so, unless a continuance
                  is agreed to by the United States Attorney's Office and granted by the Court.


   E. REMEDIES AV/,XLABLB TO THE UNITED STATES

          I  hereby stipulate and agree that the United States Attorney's office may, at its
   election, pursue any or all of the following remedies if I fail to comply with any provision
   of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
   (c) reinstate any dismissed charges; (d) file new charges; (e) withdraw any zubstantial
   assistance motion made, regardless of whether substantial assistance has been performed;
   (f) refuse to abide by uty provision, stipulations, and/or recommendations contained in this
   plea agreement; or (g) take any other action provided for under this agreement or by statute,
   regulation or court rule.

           In addition, I agree if, for any reason, my conviction is set aside, or I fail to comply
   with any obligation under the plea agreement, the United States may file, by ind:ctment or
   information, any charges against me which were filed and/or could have been filed
   concerning the matters involved in the instant investigation. I hereby waive my right under
   Federal Rule of Criminal Procedure 7 to be proceeded against by indictment ar-d consent
   to the filing of an information against me concerning any such charges. I also hereby waive
   any statute of limitations defense as to any such charges.

          The remedies set forth above are cumulative and not mutually exclusive. The
   United States' election of any of these remedies, other than declaring this plea agreement
   void, does not, in any way, terminate my obligation to comply with the terms of the plea
   agreement. The use of "if in this section does not mean "if, and only if."




                                   Defendant's   Initials: fh   fn
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   F. GENERAL PROVISIONS
       1.. Limitation of Agreement

          This agreement only binds the United States Attorney's Office for the Western
   District of Virginia. It does not bind any state or local prosecutor, other United States
   Attomey's Office or other office or agency of the United States Government, including,
   but not limited to, the Tax Division of the United States Department of Justice, or the
   Internal Revenue Service of the United States Department of the Treasurl,. These
   individuals and agencies remain free to prosecute me for any offense(s) commited within
   their respective j urisdictions.

      2. Effect of Mv Sienature
           I understand   *ysignature on this agreement constitutes a binding offer by me to
   enter into this agreement. I understand the United States has not accepted my offer until it
   signs the agreement.

      3.   Effective Representation

           I have discussed the terms of the foregoingplea agreement and all matters :ertaining
   to the charges against me with my attorney and am fully satisfied with my attorney and my
   attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney's
   representation. I agree to make known to the Court no later than at the time of sentencing
   any dissatisfaction or complaint I may have with my attorney's representation.

      4.   Misconduct

          If I have any information concerning any conduct of any government attorney,
   agent, employee. or contractor which could be construed as misconduct or an ethical, civil,
   or criminal violation, I agree to make such conduct known to the United States Attorney's
   Office and the Court, in writing, as soon as possible, but no later than my sentencing
   hearing.

      5. Final Matters
        I understand a thorough presentence investigation will be conducted and sentencing
   recommendations independent of the United States Attorney's Office will be made by the



                                      Defendant's   Initials:     fn n'l
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   presentence preparer, which the court may adopt or take into consideration. I understand
   any calculation regarding the guidelines by the United States Attorney's Office or by my
   attomey is speculative and is not binding upon the court, the Probation office or the united
   States Attorney's Office. No guarantee has been made by anyone regarding the effect of
   the guidelines on my case.

          I understand the prosecution will be free to allocute or describe the nature of this
   offense and the evidence in this case and make any recommendations not prohibited by
   this agreement.

           I understand the United States retains the right, notwithstanding any pr,rvision in
   this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
   address the Court with respect to the nature and seriousness of the offense(s), to respond
   to any questions raised by the court, to correct any inaccuracies or inadequacies in the
   presentence report and to respond to any statements made to the court by or on behalf of
   the defendant.

          I willingly stipulatethere is a sufficient factual basis to support each lnd every
   material factual allegation contained within the charging document(s) to which I am
   pleading guilty.

           I understand this agreement does not apply to any crimes or charges not addressed
   in this agreement. I understand if I should testifr falsely in this or in a related proceeding
   I may be prosecuted for perjury and statements I may have given authorities pursuant to
   this agreement may be used against me in such      a   proceeding.

           I understand my attomey will be free to argue any mitigating factors on ny behalf;
   to the extent they are not inconsistent with the terms of this agreement. I undersiaad I will
   have an opportunity to personally address the court prior to sentence being imposed,

           This writing sets forth the entire understanding between the parties and constitutes
   the complete plea agreement between the United states Attomey for the westem District
   of virginia and me, and no other additional terms or agreements shall be entered except
   and unless those other terms or agreements are in writing and signed by the pa:ties. This
   plea agreement supersedes all prior understandings, promises, agreements, oi conditions,
   if any, between the United States and me.

          I have consulted with my attorney and fully understand all my rights. I have read



                                  Defenttant's   tniriats:     {\   (Y\

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   this plea agreement and carefully reviewed every part of it with my attorney. I urderstand
   this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
   promised anything other than the terms of this plea agreement, described above, in
   exchange for my plea of guilty. Being aware of all of the possible consequenles of my
   plea, I have independently decided to enter this plea of my own free will , and  affirming
   that agreement on this date and by my signature

   Date:    alazl*
                                               Markel Corevis            Defendant

           I have fuliy explained all rights available to my client with respect to the offenses
   listed in the pending charging document(s). I have carefully reviewed every part of this
   plea agreement rvith my client. To my knowledge, my client's decision to enter into this
   agreement is an informed and voluntary one.




                                 Defendant's   Initials:      fn ff)
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          If I will cc'ntinue to represent my client regarding the United States' efforts to collect
   any monetary obligations, I will notify the United States Attorney's Office, ATTN:
   Financia-l Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24A08-fiA9, in vrriting, of
   the fact of my continued legal representation within 10 days of the entry ofjudgment in
   this case


   Date:       Slzz(..
                                               Bern            Donovan,
                                                          I for Defendant




   Date:
               I   7   aa                       dl(0\1w    L.C
                                               Assistant United States Attorney


   Date: *, ?7
                                                                     Commonwealth Attorney




                                   Defendant's Initiats:       nn   f4
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